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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


     MOBILITY WORKX, LLC,

                                   Plaintiff,
                                                         Civil Action No.: 4:17-CV-00872-ALM
                    v.

     CELLCO PARTNERSHIP D/B/A                            JURY TRIAL DEMANDED
     VERIZON WIRELESS,

                                   Defendant.


                                                ORDER

           Before the Court is Cellco Partnership d/b/a Verizon Wireless’s Motion for Continuance

    and Additional Dates for Trial (Dkt. #223). The Court finds that the Motion should be and

    hereby is GRANTED.

.          It is therefore ORDERED that the trial scheduled for March 8, 2021, is continued and

    will be re-scheduled by separate order.       The Court also continues the January 22, 2021

    Final Pretrial Conference, to be reset when a new trial date is determined.

           IT IS SO ORDERED.
           SIGNED this 15th day of January, 2021.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
